Case 2:16-cr-00155-JLL Document 14-17 Filed 07/14/16 Page 1 of 5 PagelD: 226

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GENTILE, GUY 176220RD9 2015/06/10

SEX RACE BIRTH DATE HEIGHT WEIGHT EYES HAIR

M Ww 1976/07/03 602 165 BRO BRO

BIRTH PLACE

NEW YORK

PATTERN CLASS CITIZENSHIP

RS wu UNITED STATES

1-ARRESTED OR RECEIVED 2012/07/13
AGENCY-FBI NEWARK (NJFBINKOO}
AGENCY CASE-318C118788

FINGERPRINT INFORMATION
BSI /2000180069546
PRINT DATE/2012/07/13

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